        Case:18-10965-TBM Doc#:65 Filed:03/28/18                              Entered:03/28/18 22:35:04 Page1 of 5
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 18-10965-TBM
11380 SMITH RD LLC                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: spressera                    Page 1 of 1                          Date Rcvd: Mar 26, 2018
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 28, 2018.
db             +11380 SMITH RD LLC,   11380 Smith Road,   Aurora, CO 80010-1406

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 28, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 26, 2018 at the address(es) listed below:
              Daniel J. Morse    on behalf of U.S. Trustee   US Trustee daniel.j.morse@usdoj.gov
              Jeffrey Weinman     on behalf of Debtor   11380 SMITH RD LLC jweinman@epitrustee.com,
               lkraai@weinmanpc.com;lkraai@ecf.courtdrive.com
              Robert Samuel Boughner    on behalf of U.S. Trustee   US Trustee Samuel.Boughner@usdoj.gov
              Scott Calvin James    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               scott.james@moyewhite.com, brooke.somerville@moyewhite.com
              Timothy M. Swanson    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               tim.swanson@moyewhite.com, audra.duzenack@moyewhite.com;Melissa.dymerski@moyewhite.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 6
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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO
                               Bankruptcy Judge Thomas B. McNamara

    In re:
                                                       Bankruptcy Case No. 18-10965 TBM
    11380 SMITH RD, LLC,                               Chapter 11


    Debtor.
   ______________________________________________________________________________

        ORDER FOR HEARING ON ADEQUACY OF DISCLOSURE STATEMENT
              AND SETTING BAR DATE FOR FILING PROOFS OF CLAIM
   ______________________________________________________________________________

          The Debtor, 11380 SMITH RD, LLC (the “Plan Proponent”) filed a Disclosure Statement
   (Docket No. 54, the “Disclosure Statement”) and a Plan of Reorganization (Docket No. 53, the
   “Plan”) under Chapter 11 of the Bankruptcy Code on March 23, 2018. Accordingly,

             IT IS ORDERED:

   1. The Hearing to consider the adequacy of and to approve the Disclosure Statement pursuant
      to 11 U.S.C. § 1125 will be held at Tuesday, May 8, 2018, at 10:00 a.m., in Courtroom E,
      United States Bankruptcy Court for the District of Colorado, United States Custom House,
      721 19th Street, Denver, Colorado (the “Hearing”).

   2. The Plan Proponent shall promptly and, in any event, on or before April 2, 2018,

      a.       mail the Notice of Hearing in the form attached (the “Notice of Hearing”) to all
               creditors and indenture trustees, all equity security holders, and other parties in
               interest; and,

      b.       mail a copy of the Plan, the Disclosure Statement, and the Notice of Hearing to the
               U.S. Trustee, counsel for the Creditors’ Committee (or if there is no counsel, to the
               Committee Chairperson), the Trustee in the case, if any, and if the Debtor is not the
               Plan Proponent, to the Debtor and Debtor’s counsel, and to applicable regulatory
               authorities, including without limitation, the Securities and Exchange Commission
               and the Commissioner of Securities for the State of Colorado (all at their addresses of
               record as specified by Fed. R. Bankr. P. 2002(g)).

   3. The Plan Proponent shall also file with the Court, at least 14 days prior to the Hearing, a
      certificate of mailing of the Notice of Hearing, Plan, and Disclosure Statement as ordered.

   4. Upon request of interested parties, the Plan Proponent will promptly provide copies of the
      Plan and Disclosure Statement.
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   5. Objections to the Disclosure Statement shall be filed and served in the manner specified in
      Fed. R. Bankr. P. 3017(a), not less than seven (7) days prior to the Hearing.

   6. Pursuant to Fed. R. Bankr. P. 3003(c)(3), the Court establishes June 22, 2018, as the last
      day for any creditor or equity security holder whose claim or interest IS NOT scheduled or
      is scheduled as DISPUTED, CONTINGENT, OR UNLIQUIDATED to file a proof of
      claim. It shall not be necessary for a creditor or equity security holder to file a proof of
      claim or interest if the claim or interest is scheduled in the Schedule of Liabilities filed by
      the Debtor(s) pursuant to 11 U.S.C. § 521(a)(1)(B)(i) as not disputed, not contingent and not
      unliquidated and if the creditor or equity security holder agrees with the amount of the claim
      or interest as scheduled in the Schedule of Liabilities.



         DATED this 26th day of March, 2018                    BY THE COURT:


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                                                               Honorable Thomas B.. M McNamara
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                                                               U it d States
                                                               United St t Bankruptcy
                                                                             B k t Court  C t Judge
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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                              Bankruptcy Judge Thomas B. McNamara

    In re:
                                                     Bankruptcy Case No. 18-10965 TBM
    11380 SMITH RD, LLC,                             Chapter 11


    Debtor.
   ______________________________________________________________________________

         NOTICE OF HEARING ON ADEQUACY OF DISCLOSURE STATEMENT
             AND NOTICE OF BAR DATE FOR FILING PROOFS OF CLAIM
   ______________________________________________________________________________

   TO THE DEBTOR(S), CREDITORS, EQUITY HOLDERS, AND ALL OTHER PARTIES-IN-
   INTEREST:

          NOTICE IS HEREBY GIVEN that a Disclosure Statement was filed by 11380 SMITH
   RD, LLC (the “Plan Proponent”). Pursuant to Order of the Court, a Hearing will be held on the
   adequacy of such Disclosure Statement on Tuesday, May 8, 2018, at 10:00 a.m. in Courtroom
   E, United States Bankruptcy Court for the District of Colorado, United States Custom House,
   721 19th Street, Denver (the “Hearing”).

           Pursuant to Local Bankruptcy Rule 3017-1, any objections to the Disclosure Statement
   shall be made in writing and the original of the objection shall be filed with the Court and a copy
   served on the attorney for the Plan Proponent, the Debtor, and counsel for Debtor, the United
   States Trustee, and the Trustee, if any, counsel for the Creditors’ Committee (or when there is no
   counsel, to the Committee Chairperson), applicable regulatory agencies, including without
   limitation, the Securities and Exchange Commission and the Commissioner of Securities of the
   State of Colorado, not less than seven (7) days prior to the Hearing on the adequacy of the
   Disclosure Statement. Objections shall clearly specify the grounds upon which they are based,
   including the citation of supporting legal authority, if any, and references to the particular
   portions of the statement to which objections are made. General objections will not be
   considered by the Court.

           The Disclosure Statement is available for public inspection from 8:00 a.m. to 4:30 p.m.
   during any regular business day in the Clerk’s Office of the United States Bankruptcy Court for
   the District of Colorado, U.S. Custom House, 721 19th Street, Denver, Colorado. Any interested
   party who desires a copy of the Disclosure Statement or Plan may submit such request to the
   Plan Proponent at the address stated below, with a copy of that request to the Clerk of the
   Bankruptcy Court. The Plan Proponent shall promptly provide the requested copy.

           The Hearing may be continued from time to time by Order made in Open Court without
   further written notice to creditors or other parties in interest.
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           NOTICE IS FURTHER GIVEN that in accordance with Fed. R. Bankr. P.
   3003(c)(3), the Court establishes June 22, 2018, as the last day for any creditor or equity
   security holder whose claim or interest IS NOT scheduled or is scheduled as DISPUTED,
   CONTINGENT, OR UNLIQUIDATED to file a proof of claim. It shall not be necessary for
   a creditor or equity security holder to file a proof of claim or interest if the claim or interest is
   scheduled in the Schedule of Liabilities filed by the Debtor(s) pursuant to 11 U.S.C. §
   521(a)(1)(B)(i) as not disputed, not contingent and not unliquidated and if the creditor or equity
   security holder agrees with the amount of the claim or interest as scheduled in the Schedule of
   Liabilities.


   DATED: _________________                       PLAN PROPONENT:

                                          __________________________________
                                          __________________________________
                                          __________________________________
                                          __________________________________
